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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-01391-GPG-KAS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

STATE OF COLORADO,
JARED POLIS, Governor of Colorado, in his official capacity,
COLORADO GENERAL ASSEMBLY,
PHILIP WEISER, Attorney General of Colorado, in his official capacity,
CITY AND COUNTY OF DENVER,
DENVER CITY COUNCIL,
MIKE JOHNSTON, Mayor for the City and County of Denver, in his official capacity,
DENVER SHERIFF DEPARTMENT, and
ELIAS DIGGINS, Sheriff of Denver, Colorado, in his official capacity,

     Defendants.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA

     This matter is before the Court on the parties’ Joint Motion to Set Briefing
Schedule [#25] (the “Motion”).

        IT IS HEREBY ORDERED that the Motion [#25] is GRANTED. The deadline for
Plaintiff to file an Amended Complaint is July 26, 2025. The deadline for Defendants to
answer or otherwise respond to the Amended Complaint is August 25, 2025. The
deadline for Plaintiff to respond to any timely-filed motion to dismiss is September 24,
2025, and the deadline for Defendants to file a Reply is October 9, 2025. Defendants’
current deadline to respond to the original Complaint [#1] is VACATED.

      Dated: June 27, 2025
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